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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)                                                                            CLEAR FORM
 OR OF PARTY APPEARING IN PRO PER

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 ATTORNEY(S) FOR:

                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                              CASE NUMBER:
Broidy Capital Management, et al.
                                                                                                     2:18-cv-2421
                                                              Plaintiff(s),
                                     v.
State of Qatar, et al.                                                                       CERTIFICATION AND NOTICE
                                                                                               OF INTERESTED PARTIES
                                                             Defendant(s)                          (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for          Defendants Stonington Strategies LLC and Nicolas D. Muzin
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                      PARTY                                                         CONNECTION / INTEREST
Stonington Strategies LLC                                                     Defendant

Nicolas D. Muzin                                                              Defendant

Beazley Group                                                                 Insurer




         July 12, 2018                                     s/ Matthew J. Gardner
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Defs. Stonington Strategies LLC and Nicolas D. Muzin



CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
